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AO 94 (Rev. 01/09) Commitment to Another District


                            IN THE UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       OCALA DIVISION

UNITED STATES OF AMERICA,
     Plaintiff,

v.                                                                                 5:24-mj-1087-PRL
                                            Charging District’s Case No. 24-20098-cr-Altman/Sanchez

MICHAEL ANTHONY ABBOTT,
     Defendant.

                             COMMITMENT TO ANOTHER DISTRICT

         The defendant has been ordered to appear in the Southern District of Florida.

         The defendant:           ☐ will retain an attorney.
                                  ☒ is requesting court-appointed counsel.

         The defendant remains in custody after the initial appearance.

       IT IS ORDERED: The United States marshal must transport the defendant, together
with a copy of this order, to the charging district and deliver the defendant to the United States
marshal for that district, or to another officer authorized to receive the defendant. The
marshal or officer in the charging district should immediately notify the United States
attorney and the clerk of court for that district of the defendant’s arrival so that further
proceedings may be promptly scheduled. The clerk of this district must promptly transmit the
papers and any bail to the charging district.

Date: March 27, 2024
